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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

      DEFENDANT GARY P. DECICCO’S MOTION IN LIMINE TO PRECLUDE
         REFERENCES TO PRIME, WITHAM, AND/OR LUNDRIGAN AS
                    CO-CONSPIRATORS AT TRIAL

       Pursuant to Fed. R. Evid. 403, Defendant Gary DeCicco respectfully moves in limine to

request that this Court preclude the government from referring to Jeffrey Prime, David Witham,

and James Lundrigan as co-conspirators during trial because it is likely to confuse the issues and

mislead the jury, given that the indictment does not contain a conspiracy charge. Moreover, to

the extent that the government intends to offer any statement made by Prime, Witham, and/or

Lundrigan pursuant to Rule 801(d)(2)(E), Mr. DeCicco reserves the right to request a

Petrozziello hearing to efficiently resolve the admissibility issues and avoid undue prejudice, and

that the government be ordered to specifically identify each such statement so that those

statements can be considered at the Petrozziello hearing.

                                          CONCLUSION

       For the reasons set forth in the accompanying Memorandum in Support, Mr. DeCicco

requests that the Court grant this motion in limine and preclude the government from referring to

Prime, Witham, and/or Lundrigan as alleged “co-conspirators” of Mr. DeCicco, and to reserve

the right to request a Petrozziello hearing statements that the government intends to introduce at

trial under Fed. R. Evid. 801(d)(2)(E).
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                                 REQUEST FOR ORAL ARGUMENT

       Mr. DeCicco requests that the Court hear oral argument on this motion.



                                                     Respectfully submitted,

                                                     GARY P. DECICCO

                                                     By his attorneys,

                                                      /s/ Thomas C. Frongillo
                                                     Thomas C. Frongillo (BBO# 180690)
                                                     Caroline K. Simons (BBO# 680827)
                                                     FISH & RICHARDSON P.C.
                                                     One Marina Park Drive
                                                     Boston, Massachusetts 02210
                                                     frongillo@fr.com
                                                     simons@fr.com
                                                     TEL: (617) 542-5070
                                                     FAX: (617) 542-8906

                                                     James J. Cipoletta (BBO# 084260)
                                                     Law Offices of James J. Cipoletta
                                                     Citizens Bank Building
                                                     385 Broadway Suite 307
                                                     Revere, Massachusetts 02151
                                                     jim@cipoletta.com
                                                     Tel: (781) 289-7777
Dated: May 7, 2018                                   Fax: (781) 289-9468


                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I certify that I conferred in good faith with counsel for
the United States, Assistant United States Attorney Kristina Barclay, to resolve or narrow the
issues presented by this motion, and that the disputed issues remain unresolved.

                                                               /s/ Caroline K. Simons
                                                               Caroline K. Simons




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was filed on May 7, 2018 through
the CM/ECF system and will be served electronically to registered CM/ECF participants as
identified on the Notice of Electronic Filing.

                                                   /s/ Thomas C. Frongillo
                                                   Thomas C. Frongillo




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